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                       UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

CENTENNIAL BANK,

                   Plaintiff,

v.                                              Case No. 6:20-cv-2237-ACC-EJK

FELIPE VAZQUEZ,

                   Defendant.


                                     ORDER

      This cause is before the Court on the Supplemental Motion for Attorneys’

Fees and Costs filed by Plaintiff Centennial Bank on May 19, 2021. (Doc. 21).

      The United States Magistrate Judge has submitted a report recommending that

the Motion be GRANTED. (Doc. 28)

      After an independent de novo review of the record in this matter, and noting

that no objections were timely filed, the Court agrees entirely with the findings of

fact and conclusions of law in the Report and Recommendation.

      Therefore, it is ORDERED as follows:

      1.    The Report and Recommendation filed October 14, 2021 (Doc. 28) is

      ADOPTED and CONFIRMED and made a part of this Order.

      2.    The Supplemental Motion for Attorneys’ Fees and Costs (Doc. 21) is

      hereby GRANTED.
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        3.    Plaintiff Centennial Bank is awarded attorneys’ fees from Defendant

        Felipe Vazquez in the amount of $19,513.00.

        4.    The Clerk is directed to enter judgment accordingly.

        DONE and ORDERED in Chambers, in Orlando, Florida on November 1,

2021.




Copies furnished to:

Counsel of Record
Unrepresented Parties




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